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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-2260-GW(FFMx)                                              Date      August 27, 2018
 Title             Reflex Media, Inc., et al. v. Pilgrim Studios, Inc., et al.




 Present: The Honorable            GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                             Katie Thibodeaux
                 Deputy Clerk                          Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                        Mark L. Smith                                      Cydney Swofford Freeman
                      Joseph A. Schaeffer                                     Nicolas A. Jampol
 PROCEEDINGS:                  PILGRIM’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
                               COMPLAINT [47]


Court and counsel confer. The Tentative circulated and attached hereto, is adopted as the Court’s Final
Ruling. The Court would GRANT the Motion. It would DISMISS the trademark and unfair competition
claims WITHOUT PREJUDICE, but would DISMISS the copyright claims WITH PREJUDICE because
the Court has found a lack of substantial similarity as to protected elements by reviewing the precise
works at issue. If Plaintiffs wish to proceed with the trademark infringement and unfair competition
claims, they should file the second amended complaint by September 28, 2018.

The Court sets a status conference for October 18, 2018 at 8:30 a.m.




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                                                                  Initials of Preparer   JG
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  Reflex Media, Inc. v. Pilgrim Studios, Inc., Case No. 18-cv-2260-GW-(FFMx)
  Tentative Ruling on Motion to Dismiss Plaintiffs’ First Amended Complaint



  I. Backround
             A. Factual Background
             Plaintiffs Reflex Media, Inc. (“Reflex”) and Clover8 Investments PTE. LTD. (“Clover8”
  and collectively with Reflex, “Plaintiffs”) sue Pilgrim Media Group, LLC (“Pilgrim Media”),
  Pilgrim Films and Television, LLC (“Pilgrim Films”), Pilgrim Operations, LLC (“Pilgrim
  Operations” and collectively with Pilgrim Media and Pilgrim Films, “PMG” or the “PMG
  Defendants”), Lifetime Entertainment Services, LLC (“Lifetime Entertainment”), A&E
  Television Networks, LLC (“A&E,” and together with Lifetime Entertainment, “Network”),
  AfterBuzz TV, LLC (“AfterBuzz TV” and collectively with PMG and the Network,
  “Defendants”). See generally First Amended Complaint (“FAC”), Docket No. 37. Plaintiffs sue
  all defendants for: (1) California common law trademark infringement; (2) all defendants except
  for Pilgrim Operations and AfterBuzz TV for contributory trademark infringement; (3) all
  defendants except for Pilgrim Operations for vicarious trademark infringement; (4) all
  defendants for federal false designations, false descriptions, and false advertising, and unfair
  competition under 15 U.S.C. § 1125(a); (5) Pilgrim Films for fraud in the application under 15
  U.S.C. §§ 1199 and 1120, 28 U.S.C. § 2201; (6) all defendants except AfterBuzz TV for
  copyright infringement under 17 U.S.C. § 501; (7) all defendants except Pilgrim Operations and
  AfterBuzz TV for contributory copyright infringement; (8) all defendants except Pilgrim
  Operations and AfterBuzz TV for vicarious copyright infringement; and (9) all defendants for
  unfair competition under California Business & Professions Code § 17200 et seq. See id.
  Plaintiffs seek injunctive relief, actual damages and lost profits plus any additional profits, treble
  damages, costs, reasonable attorneys’ fees and investigative expenses, a constructive trust on all
  of Defendants’ funds and assets arising out of Defendants’ infringing activities, and various
  requests that the Court “adjudge” matters. See id. at 30-31.
             The FAC alleges the following:1
                      1. Development & Production of Reflex Media’s Original Series
             In early 2015, Reflex Media began to develop a reality entertainment series named Love

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      Plaintiffs attach eight exhibits to the FAC. See Docket Nos. 37-1 to 37-8.

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  at First Flight (the “Original Series”). See FAC ¶ 30. Plaintiff Clover8 has applied for a federal
  trademark at the behest of Plaintiff Reflex for the phrase “LOVE AT FIRST FLIGHT,” the title
  of the Original Series and hereinafter referred to as “the Mark.” In advertising for the Original
  Series, it was described as a new web series by travel dating site, MissTravel.com, following two
  “singles” as they go on a “destination first date.” See id. In other words, they travel to romantic
  getaways as their first date location instead of dinner and a movie. See id. The advertising
  begged the question: “Will these singles miss their connection, or will they find Love at First
  Flight? Watch to find out!”
         For casting, Reflex Media approached individuals with substantial social media
  audiences. See id. ¶ 31. On August 11, 2015, the first four episodes of the Original Series was
  uploaded to and available on YouTube to a worldwide audience. See id. ¶ 32. These videos are
  still featured on Reflex Media’s YouTube channel DateMissTravel and are also featured on
  www.misstravel.com/press and www.misstravel.com/laff. See id. ¶ 33. Each episode notes in
  the description that it is part of the Love at First Flight series (using standard font). Each
  episode features the Mark in the form of a “Logo” as depicted in Paragraph 36 of the FAC. It
  reads “LOVE AT FIRST Flight by Miss TRAVEL”, with some of the Logo in cursive, some in
  block lettering, some in black font, and some in an aqua color font. See id. ¶ 36 (the image itself
  is located on the FAC; the Court is merely describing that image here). The Original Series has
  been promoted with the Logo against a specific background, as depicted in Paragraph 37 of the
  FAC.
         In late 2015, Reflex Media was approached by Cry Baby Media and another production
  company about adapting the Original Series for television. See id. ¶ 38. Cry Baby Media had
  partnered on production with the PMG Defendants for two reality television shows: Down East
  Dickering (which A&E also partnered with them on and aired on its television network, airing
  from April 2014 until January 2015) and Ghost Brothers (airing from April 2016 until present).
  See id. ¶ 39. The PMG Defendants employ/employed Mike Nichols (“Nichols”) and Craig
  Piligian”) as executive producers on those two shows, as well as on what the FAC refers to as the
  “Infringing Series.” See id. ¶ 40.
                 2. Development of the Allegedly Infringing Series
         The PMG Defendants began to develop the Infringing Series in or around 2016, after Cry
  Baby Media had approached Reflex Media and months after the Original Series was published

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  on YouTube. See id. ¶ 41. In either late 2016 or early 2017, PMG Defendants began to cast
  participants for the Infringing Series, posting a casting call on their website on January 3, 2017,
  titled “Take A Trip and Meet the Love Of Your Life On FYI Network’s TV Show Love at First
  Flight.” See id. ¶ 42.
         On February 6, 2017, representatives from Reflex Media and the PMG Defendants
  discussed the allegedly Infringing Series on a phone call. One day after that phone call, a Reflex
  Media representative sent an email to the PMG Defendants, reading in part:
         We talked yesterday on the phone regarding [your] interest in Love at First Flight. [I]’d
         like to set up a meeting with the project lead, yourself, and any producers on the show to
         discuss us potentially working together for branding and marketing of the show. We
         produced a show nearly identical in concept (https://www.misstravel.com/laff), and we
         think we could offer insight and branding to your show! Please feel free to email or call.
  See id. ¶ 44. There were then a few communications back and forth, with a Reflex Media
  representative asking the PMG Defendants to at least change the name of the show out of a fear
  of likelihood of confusion with the Original Series and stating they had a common law trademark
  over the title Love at First Flight. See id. ¶ 46. There was no response to the request for
  changing the title of the allegedly Infringing Series. See id. ¶ 48.
                 3. Pilgrim Films Files a Trademark Application
         Six days after Reflex Media informed the PMG Defendants about the common law
  trademark, Defendants, through Pilgrim Films, filed a trademark application for “LOVE AT
  FIRST FLIGHT” with the USPTO, which became Application Serial No. 87351899 (the
  “Trademark Application”). See id. ¶ 50. Pilgrim Films likely filed that trademark in response to
  being told that PMG Defendants were not authorized to use the mark. See id. ¶ 57. This was an
  “intent-to-use” application. See id. ¶ 50-52. The Trademark Application is for “[e]ntertainment
  services in the nature of a television and multimedia program series featuring subjects of general
  human interest distributed via various platforms across multiple forms of transmission media;
  providing entertainment information to others via a global computer network.” See id. ¶ 53.
  Pilgrim Films made various declarations as part of the application, such as that it believed it was
  entitled to use the mark in commerce and that it did not think anyone else had the right to use the
  mark in commerce. See id. ¶¶ 54-55. As of the date of filing, Pilgrim Films has yet to file a
  statement of use with the USPTO. See id. ¶ 61.
                 4. Prior to the Broadcast of the Allegedly Infringing Series, Plaintiffs Provide
                 Further Notice

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         On or around March 24, 2017, Reflex Media delivered a cease and desist letter to Pilgrim
  Films, requesting they revoke the Trademark Application and stop infringing on Reflex Media’s
  mark. See id. ¶ 62. Defendants did not respond, and instead they moved forward with producing
  the allegedly Infringing Series, filming the series between October 8, 2017 and November 5,
  2017. See id. ¶¶ 63-64. On January 25, 2018, Defendants announced they would broadcast the
  first episode of the allegedly Infringing Series on March 20, 2018 on Lifetime, owned by A&E,
  and they ended up doing so on that date. See id. ¶¶ 65-66. Since that time, Defendants have
  aired eight total episodes, comprising of the first season of the Infringing Series. See id. ¶ 67.
  After the debut of the allegedly Infringing Series, AfterBuzz TV published a 52 minute video
  titled, “Love at First Flight Season 1 Episode 1 Review & Reaction,” where the hosts discussed
  the Infringing Series’ first episode. See id. ¶ 68. AfterBuzz TV did this five more times
  (collectively as a series, the “After Show”), broadcasting each and with four episodes featuring a
  participant from the Infringing Series as a guest. See id. To promote the Infringing Series and
  After Show, Defendants used Reflex Media’s Logo as its thumbnail image link to the After
  Show’s live stream and video. See id. ¶ 69, Exs. 2-3.
                 5. Other Allegations Relating to Trademark Infringement
         Reflex Media spent substantial time and resources in creating the Original Series,
  including casting and compensating social media personalities to appear in and promote the
  series, flying cast and film crews to destinations for filming, arranging and paying for activities,
  editing the film, and creating artwork for the show. See id. ¶ 70. The Original Series received
  media coverage and was featured in articles, including articles on DatingAdvice.com and Metro.
  See id. ¶ 71. The Original Series has been viewed more than 701,000 times. See id. Defendants
  did not use the Mark in commerce until after Reflex Media did so in connection with the
  Original Series. See id. ¶ 72. Defendants advertised the allegedly Infringing Series using marks
  confusingly similar to the Mark on the Internet, including on the PMG Defendants’ website, on
  the Lifetime network’s website, Facebook.com, YouTube, and on search engines like Google,
  Yahoo!, DuckDuckGo, and Ask.com, where the allegedly Infringing Series’ search results are
  intermingled with the search results from the Original Series. See id. ¶ 76. The After Show also
  promoted the allegedly Infringing Series. See id. ¶ 80.
                 6. Other Allegations Relating to Copyright Infringement
         Defendants had access to Reflex Media’s Original Series, available to the public on

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  YouTube before Defendants began producing the allegedly Infringing Series. See FAC ¶ 82.
  The PMG Defendants copied, without authorization, the core plot, theme, mood, settings, and
  characters of the Original Series. See id. ¶ 83. The Original Series consists of individuals
  meeting for the first time in-person at “exotic” locations like Hawaii, Mexico, Canada, and Costa
  Rica, with the Infringing Series similarly consisting of dates in “exotic” locations like Hawaii,
  Las Vegas, Seattle, and New York City. See id. ¶¶ 84, 86. Both shows feature “young attractive
  singles” participating in bonding activities like boating, paddle water activities, ocean snorkeling,
  and live performances of shirtless male dancers. See id. The theme and mood of each show
  conveys fun, adventure, and anticipation for the prospect of burgeoning “romantic feelings”
  between participants. See id. ¶¶ 85, 87.
           B. Procedural Background
           Pending before the Court is the motion to dismiss. See Pilgrim’s Notice of Motion and
  Motion to Dismiss Plaintiffs’ First Amended Complaint (“Motion”), Docket No. 47. All current
  defendants except for AfterBuzz (“Moving Defendants”) join in the Motion.2 See generally id.
  Moving Defendants filed a request for judicial notice.3 See Pilgrim’s Request for Judicial Notice

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    Plaintiffs filed a Notice of Dismissal Pursuant to Federal Rules of Civil Procedure 41(a) or (c), Docket No. 53, as
  to Lifetime Entertainment. Therefore, it seems that Lifetime Entertainment is also not part of the Motion.
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    It does not appear that Plaintiffs opposed Moving Defendants’ RJN. See generally Opp’n. Moving Defendants
  provided copies of the Original Series and the Allegedly Infringing Series as part of their RJN. See Defs.’ RJN at 1
  (discussing Exhibits A through H, which are the 8 episodes of the Allegedly Infringing Series and Exhibits I through
  L, which are the episodes of the Original Series); Notice of Lodging of Exhibits A-L (Two DVDs), Docket No. 49.
  There is no dispute as to the authenticity of these materials, and because the contents of these materials is alleged in
  the FAC, see generally FAC, the Court would consider these materials in considering the Motion. Indeed, the Court
  may consider the content of these materials as documentary facts alleged in the FAC. See Zella v. E.W. Scripps Co.,
  529 F. Supp. 2d 1124, 1126-28 (C.D. Cal. 2007) (where plaintiff alleged that defendants’ television show infringed
  its copyrighted treatment and script for a television show, court could consider copies of television show provided
  by defendants and could “consider the content of the show as a [sic] documentary facts whose contents are alleged
  in the complaint”).
            Moving Defendants also request that the Court take judicial notice of “generic elements common to reality
  dating shows,” which they proffer including: (1) casting young attractive singles, (2) filming multiple-day dates in
  exotic locations, (3) contestants participating in bonding activities, and (4) a theme and mood of fun, adventure, and
  anticipation for the prospect of burgeoning romantic feelings between the participants on the show. See Defs.’ RJN
  at 1-6. “Courts ‘may [also] take judicial notice of generic elements of creative works’ and elements common to a
  genre.” Fillmore v. Blumhouse Prods., LLC, No. 2:16-CV-04348-AB-(SSx), 2017 WL 4708018, at *2 (C.D. Cal.
  July 7, 2017) (quoting Zella, 529 F. Supp. 2d at 1129). Considering that Plaintiffs have not meaningfully opposed
  the Court taking judicial notice of the generic elements proffered in Moving Defendants’ RJN, and because those
  elements are not subject to reasonable dispute and are generally known within the Court’s jurisdiction, the Court
  takes judicial notice of those generic elements. See Fillmore, 2017 WL 4708018, at *2 (“The Court has considered
  the proffered facts and literary elements and finds that they are not subject to reasonable dispute because they are
  generally known within the court’s jurisdiction. See Fed. R. Civ. P. 201(b)(1). The Court therefore takes judicial
  notice of the listed facts and literary elements.”).


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  (“Defs.’ RJN”), Docket No. 48. Plaintiffs filed an opposition. See Plaintiffs’ Memorandum in
  Opposition to Pilgrim Defendants’ Motion to Dismiss First Amended Complaint (“Opp’n”),
  Docket No. 54. Plaintiffs make their own request for judicial notice. See Request for Judicial
  Notice in Support of Plaintiffs’ Opposition (“Pls.’ RJN”), Docket No. 55.4 Moving Defendants
  filed a reply in support of the Motion. See Reply in Support of Pilgrim’s Motion (“Reply”),
  Docket No. 57.
  II. Legal Standard
           Typically, plaintiffs in federal court need only give “a short and plain statement of the
  claim showing [entitlement] to relief.” Fed. R. Civ. P. 8(a)(2). Under Rule 12(b)(6), a defendant
  may move to dismiss for failure to state a claim upon which relief can be granted. Fed. R. Civ.
  P. 12(b)(6). A complaint may be dismissed for failure to state a claim for one of two reasons: (1)
  lack of a cognizable legal theory; or (2) insufficient facts under a cognizable legal theory. Bell
  Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also Mendiondo v. Centinela Hosp. Med.
  Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008) (“Dismissal under Rule 12(b)(6) is appropriate only
  where the complaint lacks a cognizable legal theory or sufficient facts to support a cognizable
  legal theory.”).
           In deciding a 12(b)(6) motion, a court “may generally consider only allegations contained
  in the pleadings, exhibits attached to the complaint, and matters properly subject to judicial
  notice.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007); see also Marder v. Lopez, 450
  F.3d 445, 448 (9th Cir. 2006) (indicating that a court may consider a document “on which the
  complaint ‘necessarily relies’ if: (1) the complaint refers to the document; (2) the document is
  central to the plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to
  the 12(b)(6) motion”). The court must construe the complaint in the light most favorable to the
  plaintiff, accept all allegations of material fact as true, and draw all reasonable inferences from
  well-pleaded factual allegations. Gompper v. VISX, Inc., 298 F.3d 893, 896 (9th Cir. 2002);
  Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001), amended on denial of
  reh’g, 275 F.3d 1187 (9th Cir. 2001); Cahill v. Liberty Mutual Ins. Co., 80 F.3d 336, 337-38 (9th
  Cir. 1996). The court is not required to accept as true legal conclusions couched as factual
  allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where a plaintiff facing a 12(b)(6)


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   The Court takes judicial notice of the screenshots of various websites that Plaintiffs submit as part of their RJN as
  suitable for judicial notice. See Pls.’ RJN at 2-4.

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  motion has pled “factual content that allows the court to draw the reasonable inference that the
  defendant is liable for the misconduct alleged,” the motion should be denied.           Id.; Sylvia
  Landfield Trust v. City of Los Angeles, 729 F.3d 1189, 1191 (9th Cir. 2013). But if “the well-
  pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the
  complaint has alleged – but it has not show[n] . . . the pleader is entitled to relief.” Iqbal, 556
  U.S. at 679 (citations omitted).
  III. Discussion
         Though the FAC alleges nine causes of action against various defendants, the parties both
  lump those causes of action into two categories in their briefing. See generally Motion; Opp’n;
  FAC.    The first consists of the trademark claims, including unfair competition based in
  trademark violations; and the second consists of the copyright claims. See id.
         A. Trademark and Unfair Competition Claims
         The parties agree that the Court should apply the Rogers test to determine whether the
  First Amendment bars Plaintiffs’ trademark and unfair competition claims. See Motion at 5-7;
  Opp’n at 4 (“Plaintiffs and Pilgrim agree that Plaintiffs’ trademark-infringement and unfair
  competition claims (Counts 1-5, and 9) are governed by the Lanham Act and by the Second
  Circuit Court of Appeals Decision, Rogers v. Grimaldi, 875 F.2d 994 (2nd Cir. 1998).”). See
  generally Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1239-42 (9th Cir. 2013).
         Though, in general, a “likelihood-of-confusion test” governs infringement claims brought
  under the Lanham Act, with expressive works the Ninth Circuit “ha[s] adopted the Second
  Circuit’s Rogers test to strike an appropriate balance between First Amendment interests in
  protecting artistic expression and the Lanham Act’s purposes to secure trademark rights.”
  Gordon v. Drape Creative, Inc., 897 F.3d 1184 (9th Cir. July 30, 2018) (citation omitted). The
  defendant must “make a threshold legal showing that its allegedly infringing use is part of an
  expressive work protected by the First Amendment. If the defendant successfully makes that
  threshold showing, then the plaintiff claiming trademark infringement bears a heightened burden
  − the plaintiff must satisfy not only the likelihood-of-confusion test but also at least one of
  Rogers’s two prongs.” Id.
         Pursuant to the Rogers test, the title of an expressive work does not violate the Lanham
  Act “unless the title [1] has no artistic relevance to the underlying work whatsoever, [2] or, if it
  has some artistic relevance, unless the title explicitly misleads as to the source or the content of

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  the work.” Mattel Inc. v. MCA Records, Inc., 296 F.3d 894, 902 (9th Cir. 2002) (internal
  quotation marks omitted) (quoting Rogers, 875 F.2d at 999). This two-prong test “insulates from
  restriction titles with at least minimal artistic relevance that are ambiguous or only implicitly
  misleading but leaves vulnerable to claims of deception titles that are explicitly misleading as to
  source or content, or that have no artistic relevance at all.” Rogers, 875 F.2d at 1000. To sum up
  the above, “when the defendant demonstrates that First Amendment interests are at stake, the
  plaintiff claiming infringement must show not only (1) that it has a valid, protectable trademark,
  and (2) that the defendant’s use of the mark is likely to cause confusion, but also (3) that the
  mark is either not artistically relevant to the underlying work or explicitly misleads consumers as
  to the source or content of the work.” Gordon, 2018 WL 3613961, at * 4.
          As to the applicability of the Rogers test to the works at issue, the Ninth Circuit has
  recently held the following:
          [The plaintiff] also claims that [the defendant’s] uses of the “Empire” mark fall within the
          Lanham Act due to a footnote in Rogers, which stated that Rogers’ “limiting construction
          would not apply to misleading titles that are confusingly similar to other titles [because
          the] public interest in sparing consumers this type of confusion outweighs the slight
          public interest in permitting authors to use such titles.” 875 F.2d at 999 n.5. This
          footnote has been cited only once by an appellate court since Rogers, in a case in which
          the Second Circuit itself rejected its applicability and applied the Rogers test. See Cliffs
          Notes, Inc. v. Bantam Doubleday Dell Publ’g Grp., Inc., 886 F.2d 490, 494-95 (2d Cir.
          1989). The exception the footnote suggests may be ill-advised or unnecessary:
          identifying “misleading titles that are confusingly similar to other titles” has the potential
          to duplicate either the likelihood-of-confusion test or the second prong of Rogers, which
          asks whether a title “explicitly misleads as to the source or the content of the work.”
          Mattel, 296 F.3d at 902 (quoting Rogers, 875 F.2d at 999). More importantly, it conflicts
          with our precedents, which “dictate that we apply the Rogers test in [Lanham Act] §
          43(a) cases involving expressive works.” Brown, 724 F.3d at 1241-42. We therefore
          examine [the defendant’s] use of the “Empire” mark under that test [despite the presence
          of confusingly similar titles].
  See Twentieth Century Fox Television a division of Twentieth Century Fox Film Corp. v. Empire
  Distribution, Inc., 875 F.3d 1192, 1197 (9th Cir. 2017). Because of this, the Court will apply
  that test below despite the fact that there are confusingly similar titles at play.
                  1. First Prong of the Rogers Test
          Under the first prong of the Rogers test, “only the use of a trademark with ‘no artistic
  relevance to the underlying work whatsoever’ does not merit First Amendment protection. In
  other words, the level of relevance merely must be above zero.” E.S.S. Entm’t 2000, Inc. v. Rock
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  Star Videos, Inc., 547 F.3d 1095, 1100 (9th Cir. 2008). “A mark that has no meaning beyond its
  source-identifying function is more likely to be used in a way that has ‘no artistic relevance to
  the underlying work whatsoever,’ [citation] because the work may be ‘merely borrow[ing]
  another’s property to get attention,’ [citation].” Id. at 1198 (quoting Mattel, 296 F.3d at 901-02;
  and citing Dr. Seuss Ents., L.P. v. Penguin Books USA, Inc., 109 F.3d 1394, 1401 (9th Cir.
  1997)).
            Plaintiffs do not meaningfully argue that the allegedly Infringing Series’ title (which is
  also the Mark) Love at First Flight has zero artistic significance to the underlying work. The
  FAC describes the allegedly Infringing Series as the following:
            Defendants’ Allegedly Infringing Series similarly consists of multiple-day dates in exotic
            locations such as Hawaii, Las Vegas, Seattle, and New York City. The participants
            featured in the Allegedly Infringing Series also are young attractive singles who
            participate in bonding activities such as: attending a live performance featuring shirtless
            male dancers, tree climbing using climbing lines, waterfall activities, boating, paddle
            water activities, and ocean snorkeling.
  See FAC ¶ 86. Based on a comparison of this allegation with the title Love at First Flight, the
  Court would conclude that the artistic relevance of the title to the allegedly Infringing Series is
  certainly above zero. See CI Games S.A. v. Destination Films, No. 2:16-CV-05719-SVW-JC,
  2016 WL 9185391, at *7 (C.D. Cal. Oct. 25, 2016) (“The Court now finds that the Defendants
  have satisfied this very low bar. The Defendants could only fail this prong if the title had zero
  relevance to the movie, which is not the case here.”) (footnotes omitted). The Court would also
  reach that conclusion after reviewing the copies of the allegedly Infringing Series. See Defs.’
  RJN Exs. A-H.
                   2. Second Prong of the Rogers Test
            The Rogers test’s second prong requires junior users to demonstrate that their work does
  not explicitly mislead as to that work’s content or source. Mattell, 296 F.3d at 902. “It is well
  established that the use of a mark alone is not enough [for the plaintiff] to satisfy this prong of
  the Rogers test.” Brown, 724 F.3d at 1245. As such, the question is “whether there was an
  ‘explicit indication,’ ‘overt claim,’ or ‘explicit misstatement’ that caused . . . consumer
  confusion.” Id. (quoting Rogers, 875 F.2d at 1001). According to the Ninth Circuit, even if a
  party produces survey evidence demonstrating consumers believed that the trademark owner
  endorsed the allegedly infringing work, that would not be sufficient to support a claim of explicit


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  misleading. Id. at 1245-46. “To be relevant, evidence must relate to the nature of the behavior
  of the identifying material’s user, not the impact of the use.” Id. at 1246. As an example, if a
  party produced evidence of “statements made in materials” accompanying the allegedly
  infringing work that explicitly misleads consumers, that might be sufficient. Id.
          Moving Defendants argues that the Original Series’ title does not expressly mislead the
  public about the source or content of the work. See Motion at 8-12. Plaintiffs seem to argue that
  this prong is satisfied through at least one of three avenues: (1) that the Original Series and
  allegedly Infringing Series bear the same name, (2) YouTube search results for the Original
  Series and allegedly Infringing Series, and (3) AfterBuzz’s promotion of the allegedly Infringing
  Series using the Logo. See Opp’n at 5.
          This prong of the Rogers test poses more factual considerations than the first prong.
  Other courts have held that summary judgment is the more proper venue for making this
  determination. See CI Games S.A. v. Destination Films, No. 2:16-CV-05719-SVW-JC, 2016
  WL 9185391, at *10 (C.D. Cal. Oct. 25, 2016) (denying motion to dismiss in the context of
  confusingly similar titles and concluding that “[t]he Court does not hold that the Defendants are
  definitively not entitled to First Amendment protection under the Rogers test. Instead, the Court
  finds that the analysis of whether the First Amendment protects the actions of the Defendants is
  better conducted at the summary judgment stage.”). Nonetheless, at this point the FAC makes no
  allegations that the allegedly Infringing Series explicitly misleads consumers as to the content or
  source of the work. As the Ninth Circuit has held, “[w]e must ask not only about the likelihood
  of consumer confusion but also ‘whether there was an explicit indication, overt claim, or explicit
  misstatement that caused such consumer confusion . . . . the use of a mark alone is not enough to
  satisfy this prong of the Rogers test . . . .” See Empire, 875 F.3d at 1199. The Court simply does
  not see more than conclusory allegations in the FAC alleging as much, and Plaintiffs’ reference
  to what essentially amounts to mere use is not enough to satisfy this prong.5 Because there is no


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    Even if Moving Defendants were somehow responsible for AfterBuzz’s actions (which the FAC also does not
  allege in a more than conclusory fashion and the Opposition does not meaningfully address how that would legally
  be the case), AfterBuzz’s use of the Logo alone might still be insufficient for this prong as to the Moving
  Defendants. The screenshots submitted as part of Plaintiffs’ RJN do not change this conclusion and the FAC merely
  alleges in conclusory fashion that AfterBuzz “partnered with Defendants A&E, Pilgrim Media, [] and/or Pilgrim
  films to produce an after show that talks about and promotes the [Allegedly] Infringing Series,” see FAC ¶ 18.
  Nonetheless, if Plaintiffs more adequately plead a relationship between AfterBuzz and the other defendants in an
  amended complaint, and explain how the other defendants are legally responsible for AfterBuzz’s actions, the Court
  might revisit the issue and might consider it more suitable for summary judgment.

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  dispute that the allegedly Infringing Series is an expressive work, the Court would hold that the
  FAC does not adequately plead either prong of the Rogers test and it would therefore dismiss the
  trademark and unfair competition claims (which are rooted in trademark infringement).
         B. Copyright Claims
         Moving Defendants move to dismiss the copyright claims in the FAC on the ground that
  the allegedly Infringing Series is not substantially similar to the Original Series. See Motion at
  12-24. They request that the Court compare the works and make this determination as a matter
  of law.    See id.   Moving Defendants assert that the Court must filter out non-protectable
  expression, and that if it does so, it would conclude that the remaining expression in the allegedly
  Infringing Series is not substantially similar to the Original Series. See id.
            In response, Plaintiffs include a short 1.5 page section about the copyright claims. See
  Opp’n at 14-16. Plaintiffs’ arguments almost solely rest on their assertion that Ninth Circuit
  precedent does not allow for dismissal of a copyright claim based on the allegations here. See id.
  In arguing that the Original Series and allegedly Infringing Series are substantially similar,
  Plaintiffs’ Opposition merely cites to two paragraphs in the FAC. The first of those two
  paragraphs, Paragraph 84, alleges as follows as to the Original Series:
         Reflex Media’s Original Series consists of individuals meeting for the first time in-person
         on multiple-day dates in exotic locations such as Hawaii; Cabo San Lucas, Mexico;
         Vancouver, Canada; and Costa Rica, and other planned locations to include landlocked
         cities like Las Vegas. The participants featured in the show are young attractive singles
         who participate in bonding activities such as: attending a live performance featuring
         shirtless male dancers, zip lining amongst trees, dinner dates, waterfall activities, boating,
         paddle water activities, and ocean snorkeling.
  See FAC ¶ 84. The second of those two paragraphs, Paragraph 86, alleges the following as to the
  allegedly Infringing Series:
         Defendants’ Allegedly Infringing Series similarly consists of multiple-day dates in exotic
         locations such as Hawaii, Las Vegas, Seattle, and New York City. The participants
         featured in the Allegedly Infringing Series also are young attractive singles who
         participate in bonding activities such as: attending a live performance featuring shirtless
         male dancers, tree climbing using climbing lines, waterfall activities, boating, paddle
         water activities, and ocean snorkeling.
  See id. ¶ 86. Also alleged in the FAC, but not cited in the Opposition, is that both sets of series
  convey a “theme and mood of fun, adventure, and anticipation for the prospect of burgeoning
  romantic feelings between the participants on the show.” See id. ¶¶ 85, 87. Another relevant

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  paragraph in the FAC is Paragraph 138, alleging in a conclusory fashion as follows:
           As also described above, Defendants’ Allegedly Infringing Series is substantially similar
           to Reflex Media’s Original Series and copied the core plot, theme, mood, settings, and
           characters of the Original Series, including an attempt to use one of Reflex Media’s
           previously used cast members.
  See id. ¶ 138.
           To demonstrate copyright infringement, a plaintiff must show “(1) ownership of a valid
  copyright, and (2) copying of constituent elements of that work that are original.” Feist Publ’ns,
  Inc. v. Rural Tel. Servs. Co., 499 U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991).
  Copying may be established by demonstrating (1) “that the [defendant] had access to plaintiff’s
  copyrighted work,” and (2) “that the works at issue are substantially similar in their protected
  elements.” Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002).6
           Under Ninth Circuit precedent, courts employ a two-part test to determine if works are
  substantially similar: an intrinsic test and an extrinsic test. Id. “The intrinsic test is a subjective
  comparison that focuses on ‘whether the ordinary, reasonable audience’ would find the works
  substantially similar in the ‘total concept and feel of the works.’ ” Id. (citing Kouf v. Walt
  Disney Pictures & Television, 16 F.3d 1042, 1045 (9th Cir.1994)). Because the intrinsic test is a
  “subjective assessment of the concept and feel of two works,” Shaw v. Lindheim, 919 F.2d 1353,
  1360 (9th Cir. 1990), a determination of two works’ intrinsic similarities “must be left to the
  jury,” Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir.1996).
           A court may dismiss a complaint on a 12(b)(6) motion, however, for failing to satisfy the
  extrinsic test. See Schkeiban v. Cameron, No. CV 12-0636-R-(MANx), 2012 WL 5636281 (C.D.
  Cal. Oct. 4, 2012), aff’d, 566 F. App’x 616 (9th Cir. 2014) (dismissing a complaint with
  prejudice because the plaintiff could not satisfy the extrinsic test). The extrinsic test is an
  objective comparison of specific expressive elements which seeks to find “articulable similarities
  between the plot, themes, dialogue, mood, setting, pace, characters, and sequence of events in
  two works.” Cavalier, 297 F.3d at 822 (citing Kouf, 16 F.3d at 1045). In applying the extrinsic
  test, courts compare “not the basic plot ideas for stories, but the actual concrete elements that
  make up the total sequence of events and the relationships between the major characters.” Funky
  Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1077 (9th Cir. 2006) (citing Berkic

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   For purposes of the Motion, Moving Defendants do not challenge Plaintiffs’ allegation that Moving Defendants
  had access to the Original Series. See Motion at 13 n.15. Instead, Moving Defendants merely argue that the
  Original Series is not substantially similar to the allegedly Infringing Series in regards to their protected elements.

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  v. Crichton, 761 F.2d 1289, 1293 (9th Cir. 1985)). Courts must “filter out and disregard [ ] non-
  protectible elements” of a plaintiff’s work and inquire only into “whether the protectible
  elements, standing alone, are substantially similar.” Cavalier, 297 F.3d at 822 (quotations
  omitted) (emphasis in original).
          “[T]he Court must apply the objective ‘extrinsic test’ and determine whether there are
  ‘articulable similarities between the plot, themes, dialogue, mood, setting, pace, characters, and
  sequence of events.’ ” Zella, 529 F. Supp. 2d at 1135 (citing Funky Films, 462 F.3d at 1077).
  Because copyright law “protects expression of ideas, not the ideas themselves,” stock scenes and
  themes “are not protected against copying.” Cavalier, 297 F.3d at 823 (citing Berkic, 761 F.2d at
  1293-94). Additionally, “[s]cenes-a-faire, or situations and incidents that flow necessarily or
  naturally from a basic plot premise, cannot sustain a finding of infringement.” Id. In sum, courts
  filter out “(1) scenes a faire that necessarily result from the choice of a setting or situation; (2)
  purely utilitarian elements; and (3) elements of expression merged with the underlying idea.”
  Mattel, Inc. v. MGA Entm’t, Inc., 782 F. Supp. 2d 911, 949 (C.D. Cal. 2011). Courts focus on a
  comparison of “actual concrete elements that make up the total” work. Funky Films, 462 F.3d at
  1077. Elements that are “similar at the abstract level” but are “markedly different” in their
  particulars are not substantially similar. Id. at 1078. In applying the “extrinsic test,” the court
  can take judicial notice of the episodes of both the Original and the allegedly Infringing Series.
  See Silas v. Home Box Office, Inc., 713 Fed.Appx. 626, 627 (9th Cir. 2018).
          “[A] plaintiff who cannot satisfy the extrinsic test necessarily loses . . . because a jury
  may not find substantial similarity without evidence on both the extrinsic and intrinsic tests.”
  Kouf, 16 F.3d at 1045 (dismissing a claim on summary judgment for failing to satisfy the
  extrinsic test); see also Zella, 529 F.Supp.2d at 1139 (dismissing a complaint on a motion to
  dismiss for failing to satisfy the extrinsic test).
                  1. Plot
          “Plot is defined as ‘the sequence of events by which the author expresses his theme or
  idea.’” See Fillmore, 2017 WL 4708018, at *6 (quoting Zella, 529 F. Supp. 2d at 1133). “Basic
  plot ideas . . . are not protected by copyright law.” Cavalier, 297 F.3d at 824. When analyzing
  whether two plots are substantially similar, courts are required to look “beyond the vague,
  abstracted idea of a general plot” and instead focus on “the objective details of the works.”
  Berkic, 761 F.2d at 1293 (citing Litchfield v. Spielberg, 736 F.2d 1352, 1356 (9th Cir. 1984)). In

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  Berkic, the Ninth Circuit held that no reasonable jury could find that two screenplays were
  substantially similar because, although “at a very high level of generality” the works had
  similarities, including that “both deal[t] with criminal organizations that murder healthy young
  people, then remove and sell their vital organs to wealthy people in need of organ transplants”
  and derived “their general story from the adventures of a young professional who courageously
  investigates, and finally exposes, the criminal organization,” these ideas were only the basic plots
  of the two works. Id. The Ninth Circuit emphasized that the main characters and sequence of
  events had significant differences, the events were set in different settings, and there were
  different variances to the basic plot idea, including different romantic relationships between the
  characters. Id. Significantly, the court noted that although there were some similarities between
  the works, these similarities fell into categories of unprotectable expression and thus could not
  establish substantial similarity. Id. at 1293-94.
           Here, the “plots” of the Original Series and allegedly Infringing Series are fairly simple.
  As to the allegedly Infringing Series, which is a reality dating television series with roughly one-
  hour long episodes, participants are paired off with another person with whom they embark on a
  30-day trip across the United States. See Defs.’ RJN Exs. A-H. All eight episodes of the
  allegedly Infringing Series follow the same handful of pairs, with the looming and ultimate
  question being whether they will ultimately marry the other person. See id. They travel to
  various locations, and engage in bonding activities in each location with them either “winning”
  or “losing” various challenges. See id. The ramification of winning or losing each challenge is
  that they sleep in either a motel or a luxurious hotel, depending on the outcome. See id.
  Bonding activities include country dancing, rehabilitating disabled goats, making graffiti art, and
  dozens of other activities. See id. At various points, the couples connect, disconnect, and
  everything in between. See id. The question of whether each pair will marry is constantly
  discussed throughout the allegedly Infringing Series, and each episode leads up to the eventual
  finale where the pairs physically go to the wedding altar and decide whether they will marry each
  other or not.7
           The Original Series also centers on dating, and is of the reality television genre. But,
  there are key differences. Roughly 13-minute long episodes follow one pair of participants in


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    The Court would take judicial notice of the number of other dating/relationship reality television series with
  remarkably similar elements such as The Bachelor and The Bachelorette.

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  each episode that meet for the first time in mostly foreign destinations. See Defs.’ RJN Exs. I-L.
  Among each pair, one person is a social media “influencer” or “personality” with the other
  participant being a “Miss Travel [dating application] user.” See id. The show mentions Miss
  Travel throughout and the pair generally stays at the same accommodations as one another,
  which are normally high-end vacation rentals. See id. Each episode usually features one
  location and one pair, with the parties going their separate ways at the end of the episode. See id.
  At the beginning of each episode, the narrator states, “[T]ravel is the first test of a relationship,
  so why not make it the first date? One website is revolutionizing the online dating game by
  connecting singles for dates in exotic and far-flung destinations. Watch what happens when two
  strangers trade dinner and a movie for a destination first date. Will this couple have a missed
  connection, or will they find love at first flight?” See id. Most of the episodes center on meals
  and 1-2 other activities, such as sailing or attending a luau. See id. In the four episodes
  presented to the Court, the couples get along with little to no friction. See id.
         When the Court removes the generic elements of the two works (which admittedly are
  similar), there are no substantial similarities in the plot’s objective details. As addressed in the
  Court’s discussion of Moving Defendants’ RJN as to the two works’ generic elements, the Court
  removes the following generic elements in this comparison: (1) casting young attractive singles,
  (2) filming multiple-day dates in exotic locations, (3) contestants participating in bonding
  activities, and (4) a theme and mood of fun, adventure, and anticipation for the prospect of
  burgeoning romantic feelings between the participants on the show. The abovementioned plots
  of the Original Series and allegedly Infringing Series are not substantially similar once those
  generic elements are taken out of the equation.
                 2. Theme
         A work’s theme is its overarching message. See Kouf, 16 F.3d at 1045 (describing one
  work’s theme as a “celebrat[ion] [of] family values” and another work’s theme as “the triumph
  of good over evil”); Schkeiban, 2012 WL 5636281, at *1 (describing a work’s theme as a
  commentary on “racism, genocide, imperialism[,] and environmentalism”). Not all works have
  themes. See, e.g., Olson v. Nat’l Broad. Co., 855 F.2d 1446, 1451 (9th Cir. 1988) (“The two
  shows . . . lack identifiable themes.”). When two works both lack identifiable themes, courts do
  not find that their common lack of a theme favors a finding of substantial similarity. See id.
  Additionally, there is no protection for stock themes or themes that flow necessarily from a basic

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  premise. See id.; Cavalier, 297 F.3d at 823.
         Though theme can be a protectable element, the theme of fun, adventure, and anticipation
  for the prospect of burgeoning romantic feelings between participants on the show is a generic
  stock theme as discussed above. In any event, the theme necessarily flows from the basic
  generic premise of the shows about participants dating through bonding activities while
  traveling.
                 3. Dialogue
         In order for a plaintiff to demonstrate substantial similarity of dialogue, it must show
  “extended similarity of dialogue.” See Olson, 855 F.2d at 1450. There is no allegation of
  similarity in dialogue made in the FAC, see generally FAC, and the Court similarly sees none
  upon reviewing the works at issue, see Defs.’ RJN Exs. A-L.
                 4. Mood
         “A general mood that flows ‘naturally from unprotectible basic plot premises’ is not
  entitled to protection.” Shame on You, 120 F.Supp.3d at 1158 (quoting Rice, 330 F.3d at 1177);
  see also Rice, 330 F.3d at 1177 (concluding that the moods of secrecy and mystery in the magic
  genre are “generic [and] constitute scenes a faire” (italics in original)). As discussed in the
  theme section above, in the Original Series, the mood of fun, adventure, and anticipation for the
  prospect of burgeoning romantic feelings between participants on the show flows naturally from
  the unprotectable basic plot premise and is thus not entitled to protection here.
                 5. Setting
         Even when two shows are set in the same city, there is not necessarily a finding of
  substantial similarity of copyrightable expression. See Alexander v. Murdoch, No. 10 CIV 5613
  PAC-(JCFx), 2011 WL 2802923, at *7 (S.D.N.Y. July 14, 2011) (“[T]he choice of [a particular
  city] as a setting is not in itself copyrightable.”). “Setting[s] [that] naturally and necessarily
  flo[w] from the basic plot premise . . . constitut[e] scenes-a-faire and cannot support a finding of
  substantial similarity.” See Cavalier, 297 F.3d at 824; see also Benay, 607 F.3d at 627-28
  (finding that settings such “the Imperial Palace, . . . the Imperial Army’s training grounds, and
  battle[fields] [ ] in various places in Japan” were unprotected settings which flowed naturally
  from the premise of “an American war veteran who travels to Japan to help the Emperor fight a
  samurai rebellion”).
         In the Original Series, the episodes generally take place in large cities within the United

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  States. On the other hand, the allegedly Infringing Series takes place predominantly in areas
  outside of the U.S. mainland. The particular setting of the series are not substantially similar.
  Even if these shows were set in the same or similar locations, the choice of settings for each of
  these shows flows from their basic plot premise, therefore constituting non-protectable scenes-a-
  faire. See Cavalier, 297 F.3d at 824.
                 6. Characters
         The Ninth Circuit recently consolidated its precedent regarding which characters are
  copyrightable by creating a three-part test. See DC Comics v. Towle, 802 F.3d 1012, 1021 (9th
  Cir. 2015), cert. denied, 136 S. Ct. 1390 (2016). Under this test, a character must: (1) have
  “physical as well as conceptual qualities,” (2) be “sufficiently delineated,” and (3) be “especially
  distinctive” in order to receive copyright protection. Id. (finding the Batmobile to be a protected
  character); see also Walt Disney Prods. v. Air Pirates, 581 F.2d 751 (9th Cir. 1978) (finding
  Mickey Mouse to be a protected character); Metro-Goldwyn–Mayer, Inc. v. Am. Honda Motor
  Co., 900 F. Supp. 1287, 1295-96 (C.D. Cal. 1995) (finding James Bond to be a protected
  character).
         By virtue of the fact the Original Series and the allegedly Infringing Series are “reality”
  television series, the participants play themselves. None of the participants overlap in the
  Original Series and the allegedly Infringing Series. Though there might be similarities between
  some of the characters, such as their pursuit of romance or love, those are merely stock character
  traits and they flow from the basic premise of the series. Milano v. NBC Universal, Inc., 584 F.
  Supp. 2d 1288, 1296 (C.D. Cal. 2008) (“The treatment discusses what might be called stock
  characters or types, but nothing beyond that. For example, the treatment describes a young man
  who cannot be a firefighter because he is overweight, and a scorned wife who, after gaining
  weight, lost her husband to a younger, slimmer woman. . . . [As reality television characters,]
  [c]haracter is developed entirely through the dynamic interaction of the contestants over the
  course of the program.”). The characters in the allegedly Infringing Series and the Original
  Series are not substantially similar.
                 7. Pace
         The timeline of a work is an important factor in determining whether pace is substantially
  similar. See, e.g., Kouf, 16 F.3d at 1046 (finding pace to be dissimilar where one story was told
  in 24 hours, and the other was told over multiple days). Pace that “flow[s] necessarily or

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  naturally from a basic plot premise, cannot sustain a finding of infringement.” See Cavalier, 297
  F.3d at 823. The pace of the Original Series and allegedly Infringing Series is markedly
  different: the pairs in the allegedly Infringing Series interact for an approximately 30-day period
  whereas the pairs in the Original Series meet for a far shorter period of time, usually a couple of
  days.   In any event, the pace of the Original Series and allegedly Infringing Series flows
  naturally from the basic plot premise.
                  8. Identical Titles
          Titles are not protected by copyright law. See Shaw, 919 F.2d at 1362 (“[A] title cannot
  be copyrighted.”). “This is true in the sense that titles, in and of themselves, cannot claim
  statutory copyright.” See id. “Nevertheless, if the copying of a title is not an act of copyright
  infringement, it may . . . have copyright significance as one factor in establishing whether the
  substance of plaintiff’s work (not the title) has been copied.” See id. (citation and internal
  quotation marks omitted). In other words, identical titles can be circumstantial evidence that a
  defendant copied the plaintiff’s work, and under Ninth Circuit precedent courts “acknowledge
  and consider defendants’ admitted copying of [the original work’s] title in determining whether
  there is substantial similarity of protected expression between the two works.” See id. Here, the
  Original Series and allegedly Infringing Series have the same title: Love at First Flight. The
  Court will thus consider the presence of identical titles as circumstantial evidence in determining
  substantial similarity.
          Though the two works have identical titles, in light of the lack of substantial similarity
  between any protectable elements of the respective works as well as the significant differences
  between the works, the Court would dismiss the copyright infringement claims for failing under
  the extrinsic test for substantial similarity. See Milano, 584 F. Supp. 2d at 1297 (“In short, the
  treatment and ‘The Biggest Loser’ contain similarities but in elements that are not protectable.
  ‘The Biggest Loser’ contains important elements not found in the treatment, and the treatment
  includes many elements not found in the program. Under the substantial similarity test, the
  copyright infringement claim fails.”). Because the Court has thoroughly reviewed the Infringing
  Series and Original Series in full, rather than merely relying on the FAC, the Court would
  dismiss the copyright claims with prejudice because no allegations could cure this deficiency.
  IV. Conclusion
          The Court would GRANT the Motion. It would DISMISS the trademark and unfair

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  competition claims WITHOUT PREJUDICE, but would DISMISS the copyright claims
  WITH PREJUDICE because the Court has found a lack of substantial similarity as to protected
  elements by reviewing the precise works at issue.         If Plaintiffs wish to proceed with the
  trademark infringement and unfair competition claims, they should file the second amended
  complaint within 21 days of the date the Court issues its final ruling.




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